
653 S.E.2d 159 (2007)
STATE of North Carolina
v.
Michelle Catherine THEER.
No. 98A07.
Supreme Court of North Carolina.
October 11, 2007.
Daniel Pollitt, Assistant Appellate Defender, for Theer.
John Barnwell, Assistant Attorney General, Edward W. Grannis, Jr., District Attorney, for State of NC.
Prior report: 181 N.C.App. 349, 639 S.E.2d 655.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 20th day of February 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 11th day of October 2007."
